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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


JAMES FICKEN, trustee,
SUNCOAST FIRST TRUST; and
SUNCOAST FIRST TRUST,

       Plaintiffs,

       vs.                                                  Case No.: 8:19-cv-01210
                                                            State Court Case No.: 19-003181-CI
CITY OF DUNEDIN, FLORIDA;
DUNEDIN CODE ENFORCEMENT BOARD;
MICHAEL BOWMAN, in his official capacity as Code
Enforcement Board Chairman; LOWELL SUPLICKI,
in his official capacity as Code Enforcement Board
Vice-Chair; ARLENE GRAHAM, in her official
capacity as a member of the Code Enforcement Board;
KEN CARSON, in his official capacity as a member
of the Code Enforcement Board; WILLIAM
MOTLEY, in his official capacity as a member
of the Code Enforcement Board; DAVE PAULEY,
in his official capacity as a member of the Code
Enforcement Board; and BUNNY DUTTON, in
her official capacity as a member of the Code
Enforcement Board,

       Defendants.
                                                    /

                                  NOTICE OF MEDIATION

       PLEASE TAKE NOTICE that the parties will conduct the Court-ordered mediation with

the Hon. Melvia B. Green in this matter, which shall take place as follows:


       Mediation Date and Time:      November 15, 2019 beginning at 9:30 a.m.

       Mediation Location:           Trask Daigneault, L.L.P.
                                     Harbor Oaks Professional Center
                                     1001 South Fort Harrison Avenue, Suite 201
                                     Clearwater, Florida 33756
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      The Court has ordered, and the parties have been advised to split mediation fees evenly

between them.


      Respectfully submitted this 4th day of October 2019.



                            By:    /s/ Ari S. Bargil
                                   Ari S. Bargil (FL Bar No. 71454)
                                   Justin M. Pearson (FL Bar No. 597791)*
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                                   **Admitted Pro Hac Vice

                                   Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 4th day of October 2019, a true and correct copy of

Notice of Mediation was filed with the Clerk of the Court using the CM/ECF system, which will

send a notice of electronic filing to the following CM/ECF participants:

       Jay Daigneault
       Randy Mora
       TRASK DAIGNEAULT, L.L.P.
       1001 S. Ft. Harrison Avenue, Suite 201
       Clearwater, FL 33756
       Email: jay@cityattorneys.legal
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       Counsel for Defendants


                                     /s/ Ari S. Bargil
                                     INSTITUTE FOR JUSTICE




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